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 9

10                                    UNITED STATES DISTRICT COURT

11                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
     IN RE: CATHODE RAY TUBE (CRT)                           Master File No. 3:07-CV-5944 SC
14   ANTITRUST LITIGATION                                    MDL No. 1917
     _______________________________________
15                                                           DEFENDANTS CHUNGHWA PICTURE
     This Document Relates To:                               TUBES, LTD. AND CHUNGHWA
16                                                           PICTURE TUBES (MALAYSIA) SDN.
     Best Buy Co. Inc. et al. v. Hitachi, Ltd. et al., No.   BHD.’S MOTION TO DISMISS FOR
17   3:11-cv-05513-SC                                        LACK OF PERSONAL JURISDICTION
18   CompuCom Sys., Inc. v. Hitachi, Ltd. et al., No.        Date:        December 12, 2014
     3:11-cv-06396-SC                                        Time:        10:00 A.M.
19                                                           Judge:       Hon. Samuel Conti
     Interbond Corp. of Am. v. Hitachi, Ltd. et al., No.
20   3:11-cv-06275-SC
21   Office Depot, Inc. v. Hitachi, Ltd. et al., No.
     3:11-cv-06276-SC
22
     P.C. Richard & Son Long Island Corp. et al. v.
23   Hitachi, Ltd. et al., No. 3:12-cv-02648-SC
24   Schultze Agency Services, LLC v. Hitachi, Ltd. et
     al., No. 3:12-cv-02649-SC
25
     Sears, Roebuck and Co. et al. v. Chunghwa
26   Picture Tubes, Ltd. et al., No. 3:11-cv-05514-SC
27   Target Corp. v. Chunghwa Picture Tubes, Ltd. et
     al., No. 3:11-cv-05514-SC
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       CPT AND CPTM’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION – MASTER CASE NO. 07-CV-5944 SC
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 1                         NOTICE OF MOTION AND MOTION TO DISMISS
 2          PLEASE TAKE NOTICE that on December 12, 2014, at 10:00 A.M., or as soon thereafter as
 3   the matter may be heard, in Courtroom 1, 17th Floor, San Francisco, California, before the Honorable
 4   Samuel Conti, Defendants Chunghwa Picture Tubes, Ltd. (“CPT”) and Chunghwa Picture Tubes
 5   (Malaysia) Sdn. Bhd. (“CPTM”) will and hereby do move to dismiss the following Direct Action
 6   Plaintiffs’ claims in their entirety pursuant to Federal Rule of Civil Procedure 12(b)(2) and (c) for
 7   lack of personal jurisdiction: Best Buy Co., Inc.; Best Buy Purchasing LLC; Best Buy Enterprise
 8   Services; Best Buy Stores, L.P.; BestBuy.com, L.L.C.; and Magnolia Hi-Fi, LLC (collectively, “Best
 9   Buy”); CompuCom Systems, Inc.; Interbond Corporation of America; Office Depot, Inc.; P.C.
10   Richard & Son Long Island Corp.; MARTA Cooperative of America, Inc.; ABC Appliance; Sears,
11   Roebuck and Co.; Kmart Corp.; Target Corp.; and Schultze Agency Services, LLC on behalf of
12   Tweeter Opco, LLC and Tweeter Newco, LLC.
13          This Motion is based on the grounds that the U.S. Supreme Court’s personal jurisdiction
14   decisions this year Daimler AG v. Bauman, 134 S. Ct. 746 (2014), and Walden v. Fiore, 134 S. Ct.
15   1115 (2014), constituted a significant change of law. The changed legal standards make clear that
16   there can be no proper assertion of personal jurisdiction over either CPT or CPTM. A defendant may
17   assert a defense that was previously unavailable to it after the defense becomes available as a result of
18   a change in law, and CPT and CPTM now timely raise this affirmative defense in light of the
19   intervening change in law.
20          CPT and CPTM therefore seek an order dismissing the above Direct Action Plaintiffs’ claims
21   in their entirety for lack of personal jurisdiction. This motion is based on this Notice of Motion; the
22   following Memorandum of Points and Authorities; the files in these actions; argument of counsel;
23   and such other matters as the Court may consider.
24   DATED: November 5, 2014                       GIBSON, DUNN & CRUTCHER LLP
25                                                 By:   /s/ Rachel S. Brass
                                                           Rachel S. Brass
26

27                                                 Attorneys for Defendants
                                                   CHUNGHWA PICTURE TUBES, LTD. and
28                                                 CHUNGHWA PICTURE TUBES (MALAYSIA) SDN.
                                                   BHD.

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       CPT AND CPTM’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION – MASTER CASE NO. 07-CV-5944 SC
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 1                           MEMORANDUM OF POINTS AND AUTHORITIES
 2                                           I.     INTRODUCTION
 3            The Supreme Court announced two significant decisions this year that dramatically altered the
 4   landscape of personal jurisdiction: Daimler AG v. Bauman, 134 S. Ct. 746 (2014), which
 5   significantly heightened the standard for when general jurisdiction may be asserted by requiring that
 6   the corporation be “essentially at home” in the forum state, and Walden v. Fiore, 134 S. Ct. 1115
 7   (2014), which clarified that specific jurisdiction cannot be based on the contacts of a plaintiff or third
 8   party with the forum state.
 9            These decisions constitute a significant change in law. Before 2014, general jurisdiction
10   could be premised on “continuous and systematic” business contacts, which the Ninth Circuit had
11   found to exist based on a defendant’s continuous sales into a forum state. See Gator.Com Corp. v.
12   L.L. Bean, Inc., 341 F.3d 1072, 1079 (9th Cir. 2003). Defendants Chunghwa Picture Tubes, Ltd.
13   (“CPT”) and Chunghwa Picture Tubes (Malaysia) Sdn. Bhd. (“CPTM”)—which are Taiwanese and
14   Malaysian companies, organized under the laws of those countries and with their principal places of
15   business in those countries—sold cathode ray tubes (“CRTs”) into California on a nearly yearly basis
16   during the alleged relevant period. While none of those sales were to Plaintiffs, under the law as it
17   existed before this year in the Ninth Circuit, those sales could have given rise to general jurisdiction.1
18   But the Supreme Court’s landmark decision of Daimler AG reversed the Ninth Circuit and set in
19   place a heightened standard: general jurisdiction exists only when a defendant’s contacts with the
20   forum state are “so constant and pervasive as to render [it] essentially at home.” 134 S. Ct. at 751
21   (citation omitted). Under this new formulation of general jurisdiction, Plaintiffs allege no facts upon
22   which they can establish general jurisdiction over CPT or CPTM.
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25         For purposes of this motion, “Plaintiffs” refers to the following Direct Action Plaintiffs: Best Buy
           Co., Inc.; Best Buy Purchasing LLC; Best Buy Enterprise Services; Best Buy Stores, L.P.;
26         BestBuy.com, L.L.C.; and Magnolia Hi-Fi, LLC (collectively, “Best Buy”); CompuCom
           Systems, Inc.; Interbond Corporation of America; Office Depot, Inc.; P.C. Richard & Son Long
27         Island Corp.; MARTA Cooperative of America, Inc.; ABC Appliance; Sears, Roebuck and Co.;
           Kmart Corp.; Target Corp.; and Schultze Agency Services, LLC on behalf of Tweeter Opco, LLC
28         and Tweeter Newco, LLC.

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          CPT AND CPTM’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION – MASTER CASE NO. 07-CV-5944 SC
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 1          Plaintiffs have never been able to establish specific jurisdiction over either Defendant. The
 2   anticompetitive conduct that Plaintiffs allege in their operative complaints against CPT and CPTM
 3   occurred entirely abroad. Under these circumstances, neither company ever had the minimum
 4   contacts necessary to give rise to specific jurisdiction in California, a result left undeniable by the
 5   Supreme Court’s decision this year in Walden v. Fiore.
 6          A defendant may assert a defense that was previously unavailable to it after the defense
 7   becomes available. Following the Supreme Court’s watershed personal jurisdiction opinions, CPT
 8   and CPTM now move to dismiss for lack of personal jurisdiction based on the change of law. In light
 9   of the changed legal standards, Plaintiffs have not alleged facts sufficient to establish personal
10   jurisdiction over either Defendant. CPT and CPTM therefore respectfully request that this Court
11   dismiss Plaintiffs’ complaints as to both Defendants in their entirety.
12                                           II.     BACKGROUND
13          As Plaintiffs allege, CPT is a Taiwanese company with its principal place of business in
14   Taiwan. E.g., Best Buy First Am. Compl. ¶ 58. CPTM was a Malaysian company with its principal
15   place of business in Malaysia. E.g., id. ¶ 59. Plaintiffs allege that CPT and CPTM engaged in
16   anticompetitive conduct by meeting with competitors and reaching agreements to, inter alia, set
17   prices. E.g., id. ¶¶ 128-129. Plaintiffs allege that all such meetings attended by CPT or CPTM
18   occurred in countries outside of the United States. E.g., id. ¶ 110 (visiting factories “in Southeast
19   Asia”); id. ¶ 112 (meetings in “Taiwan, South Korea, Thailand, Japan, Malaysia, Indonesia and
20   Singapore”); id. ¶ 120 (meetings in China); id. ¶ 121 (meetings “occasionally in various European
21   countries”). Plaintiffs further allege only generally that CPT and CPTM sold CRT products into the
22   United States. Id. ¶¶ 58-59. They do not allege that they bought CRTs or CRT products from CPT
23   or CPTM in the United States.
24          Plaintiffs filed their original complaints in 2011 and 2012. After Defendants obtained partial
25   relief on a joint motion to dismiss, see Aug. 21, 2013 Order, ECF No. 1856, Plaintiffs filed amended
26   complaints on October 3, 2013. See ECF Nos. 1973-1975, 1977-1981. CPT answered those
27   complaints on November 4, 2013. See ECF Nos. 2107, 2136, 2139, 2146, 2158, 2160, 2163; see also
28   ECF No. 2238 (filed Nov. 26, 2013).

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 1                                             III.    ARGUMENT
 2            A plaintiff may establish personal jurisdiction through general or specific jurisdiction.
 3   Daimler AG and Walden constitute a significant change in law that makes clear personal jurisdiction,
 4   whether general or specific, does not exist over either Defendant. This motion is timely brought
 5   because a party does not waive an affirmative defense when, like here, that defense becomes
 6   available after a change of law.
 7   A.       Plaintiffs Cannot Establish General Jurisdiction Over CPT Or CPTM Under The
 8            Heightened Standard Announced In Daimler AG.
 9            General jurisdiction “allows a defendant to be haled into court in the forum state to answer for
10   any of its activities anywhere in the world.” Martinez v. Aero Caribbean, 764 F.3d 1062, 1066 (9th
11   Cir. 2014) (citation omitted).
12            Prior to Daimler AG, a company was subject to general jurisdiction wherever it had
13   “continuous and systematic contacts.” Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S.
14   408, 415 (1984). The Ninth Circuit had interpreted that standard to allow for the exercise of general
15   jurisdiction over a company whose only presence in California was consistent sales to California and
16   a website. See Gator.Com Corp. v. L.L. Bean, Inc., 341 F.3d 1072, 1079 (9th Cir. 2003). Under that
17   standard, Plaintiffs’ allegations that CPT and CPTM sold products into the United States could have
18   been sufficient to establish general jurisdiction over the companies.
19            This year the Supreme Court shut the door on any such theory of general jurisdiction. In
20   Daimler AG, the Court held that “the inquiry . . . is not whether a foreign corporation’s in-forum
21   contacts can be said to be in some sense ‘continuous and systematic,’ it is whether that corporation's
22   affiliations with the State are so ‘continuous and systematic’ as to render it essentially at home in the
23   forum State.” 134 S. Ct. at 761 (citations omitted); see id. at 751 (contacts must be “so constant and
24   pervasive as to render [the corporate defendant] essentially at home”). Applying that test, the Court
25   noted that, absent rare and exceptional circumstances, a corporation is subject to general jurisdiction
26   in (a) its place of incorporation or (b) the place where it has its principal place of business. Id. at 761.
27   In comparison, the approach previously taken by the Ninth Circuit—“approv[ing] the exercise of
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 1   general jurisdiction in every State in which a corporation engages in a substantial, continuous, and
 2   systematic course of business”—was “unacceptably grasping.” Id.
 3            As the Ninth Circuit has recognized in the wake of Daimler AG, “[t]he Supreme Court’s
 4   recent decision in Daimler makes clear the demanding nature of the standard for general personal
 5   jurisdiction over a corporation.” Martinez, 764 F.3d at 1070. Applying Daimler AG in Martinez, the
 6   Ninth Circuit found no general jurisdiction over a corporation “organized and [with] its principal
 7   place of business in France,” with “no offices, staff, or other physical presence in California,” when
 8   its “California contacts [were] minor as compared to its other worldwide contacts.” Id. at 1070.
 9            In light of Daimler AG, it is now apparent that Plaintiffs cannot meet their burden to establish
10   general jurisdiction over CPT or CPTM. See Martinez, 764 F.3d at 1066 (“Plaintiffs bear the burden
11   of showing that jurisdiction is proper.”). As Plaintiffs recognize, CPT is a Taiwanese company with
12   its principal place of business in Taiwan, and CPTM was a Malaysian company with its principal
13   place of business in Malaysia. E.g., Best Buy First Am. Compl. ¶¶ 58-59. While Plaintiffs allege the
14   companies sold products into the United States, those contacts are in no way “so constant and
15   pervasive as to render [them] essentially at home” in California. Daimler AG, 134 S. Ct. at 751.
16   Indeed, the company in Martinez had more contacts with California than CPT or CPTM (unlike CPT
17   and CPTM, the foreign defendant in Martinez had substantial sales, contacts with suppliers, and
18   advertisements in California), but, under Daimler AG, the Ninth Circuit nonetheless found such
19   contacts were insufficient to support general jurisdiction. See Martinez, 764 F.3d at 1070. Plaintiffs’
20   allegations do not give rise to general jurisdiction over CPT or CPTM under the demanding standard
21   set forth in Daimler AG.
22   B.       Plaintiffs Have Never Been Able To Establish Specific Jurisdiction Over CPT or CPTM,
23            As Confirmed By Walden.
24            Specific jurisdiction exists “when a case arises out of or relates to the defendant’s contacts
25   with the forum.” Martinez, 764 F.3d at 1066 (citations omitted).
26            Plaintiffs have never alleged facts sufficient to support the exercise of specific personal
27   jurisdiction over CPT and CPTM. Discovery is complete in this matter, and confirms that they could
28   not ever do so. That is because the Supreme Court’s decision this year in Walden v. Fiore makes

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 1   absolutely clear that no such jurisdiction exists. In Walden, the Court held that “[d]ue process
 2   requires that a defendant be haled into court in a forum State based on his own affiliation with the
 3   State, not based on the ‘random, fortuitous, or attenuated’ contacts he makes by interacting with other
 4   persons affiliated with the State.” 134 S. Ct. at 1123. When “no part of [defendant’s] course of
 5   conduct” giving rise to the litigation “occurred in” the forum state, then the defendant “lacks the
 6   ‘minimal contacts’ with [the forum state] that are a prerequisite to the exercise of jurisdiction over
 7   [it].” Id. at 1124. Further, the “unilateral activity of a third party . . . cannot satisfy the requirement
 8   of contact with the forum State.” Id. at 1125 (citation omitted).
 9            Here, Plaintiffs allege no such conduct by CPT or CPTM in California sufficient to give rise
10   to specific jurisdiction. All of Plaintiffs’ allegations relate to conduct that occurred abroad. See, e.g.,
11   Best Buy First Am. Compl. ¶¶ 110, 112, 120, 121. And Plaintiffs cannot premise a theory of
12   personal jurisdiction based on their own contacts or those created by third parties downstream from
13   CPT or CPTM. See Walden, 134 S. Ct. at 1125. Despite wide-ranging discovery, plaintiffs have
14   identified no conduct that occurred in California. With no alleged in-state conduct giving rise to
15   liability, due process does not allow for the assertion of specific jurisdiction over CPT or CPTM.
16   C.       The Change In Law Gives Rise To A Personal Jurisdiction Defense And Does Not
17            Prejudice Plaintiffs.
18            Although personal jurisdiction defenses may be waived if they are not raised in an initial
19   motion to dismiss, an affirmative defense is not waived when, like here, it was originally unavailable
20   and later becomes available because of a subsequent change in law. See Curtis Publishing Co. v.
21   Butts, 388 U.S. 130, 143 (1967) (“[T]he mere failure to interpose such a defense prior to the
22   announcement of a decision which might support it cannot prevent a litigant from later invoking such
23   a ground.”); Owens v. Kaiser Foundation Health Plan, Inc., 244 F.3d 708, 713 (9th Cir. 2001); Big
24   Horn Cnty. Elec. Co-op., Inc. v. Adams, 219 F.3d 944, 953-54 (9th Cir. 2000); Fed. R. Civ. P.
25   12(g)(2) (“[A] party that makes a motion under this rule must not make another motion under this
26   rule raising a defense or objection that was available to the party but omitted from its earlier
27   motion”) (emphasis added); see also Hawknet, Ltd. v. Overseas Shipping Agencies, 590 F.3d 87, 91-
28   92 (2d Cir. 2009). In addition to already having “liberalized the requirement that defendants must

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          CPT AND CPTM’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION – MASTER CASE NO. 07-CV-5944 SC
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 1   raise affirmative defenses in their initial pleadings,” Owens, 244 F.3d at 713 (quoting Magana v.
 2   Commonwealth of the N. Mariana Islands, 107 F.3d 1436, 1446 (9th Cir. 1997)), the Ninth Circuit
 3   recognizes that new arguments are appropriate as a result “of an intervening change in law.” E.g.,
 4   Wang v. Chinese Daily News, 737 F.3d 538, 543 (9th Cir. 2013).
 5             As set forth above, the Supreme Court’s jurisdictional decisions this year constituted a
 6   significant change in law and now give rise to a forceful personal jurisdiction defense. Because the
 7   defense was previously unavailable and has become available as a result of a change in law, CPT and
 8   CPTM have not waived their personal jurisdiction defense.
 9             In addition, Plaintiffs suffer no prejudice as a result of CPT and CPTM raising this defense
10   now. The Ninth Circuit has observed that a case-dispositive affirmative defense does not prejudice a
11   plaintiff if raised after the initial answer: “Appellants were not prejudiced by [defendant’s] late
12   assertion of res judicata. Indeed, Appellants may not demonstrate prejudice based solely on the
13   untimely assertion of res judicata because this affirmative defense would have been dispositive had
14   [defendant] asserted it when the action was filed.” Owens, 244 F.3d at 713. Here, CPT and CPTM
15   did not delay the assertion of this affirmative defense for the purpose of forcing Plaintiffs to incur
16   unnecessary expenses. Instead, they held a good faith belief that Plaintiffs could make a case for
17   general jurisdiction under the law as it existed before 2014 based on sales of CRTs into California.
18   Additionally, there are many defendants in these cases and Plaintiffs would have incurred
19   substantially the same level of expense regardless of when CPT or CPTM raised this defense.
20   Moreover, Plaintiffs will still have a full opportunity to brief an opposition. Finally, trial has not yet
21   occurred and therefore Plaintiffs have not suffered the expense of litigating a trial against CPT or
22   CPTM; indeed, they have received the benefit of obtaining discovery from CPT as a party, rather
23   than being forced to attempt to secure otherwise cumbersome third-party discovery in Taiwan (a
24   nation that is not party to the Hague Convention and corresponding litigation procedures).
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           CPT AND CPTM’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION – MASTER CASE NO. 07-CV-5944 SC
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 1                                           IV.     CONCLUSION
 2          For the foregoing reasons, CPT and CPTM respectfully request that this Court dismiss
 3   Plaintiffs’ claims against both Defendants in their entirety.
 4

 5   DATED: November 5, 2014                       GIBSON, DUNN & CRUTCHER LLP
                                                   JOEL S. SANDERS
 6                                                 RACHEL S. BRASS
                                                   AUSTIN V. SCHWING
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 8
                                                   By:        /s/ Rachel S. Brass
 9                                                           Rachel S. Brass
10                                                 Attorneys for Defendants
                                                   CHUNGHWA PICTURE TUBES, LTD and
11                                                 CHUNGHWA PICTURE TUBES (MALAYSIA) SDN.
                                                   BHD.
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 1                                             DECLARATION OF SERVICE
 2            I, Joseph Hansen, declare as follows:
 3           I am employed in the County of San Francisco, State of California; I am over the age of
     eighteen years and am not a party to this action; my business address is 555 Mission Street, Suite
 4   3000, San Francisco, California, 94105, in said County and State. On the date below, I served the
     within:
 5
              DEFENDANTS CHUNGHWA PICTURE TUBES, LTD. AND CHUNGHWA
 6            PICTURE TUBES (MALAYSIA) SDN. BHD.’S MOTION TO DISMISS FOR LACK
              OF PERSONAL JURISDICTION
 7
     to all named counsel of record as follows:
 8
                   BY ECF (ELECTRONIC CASE FILING): I e-filed the above-detailed documents utilizing the
 9
                  United States District Court, Northern District of California’s mandated ECF (Electronic Case Filing) service
                   on November 5, 2014. Counsel of record are required by the Court to be registered e-filers, and as such are
10                 automatically e-served with a copy of the documents upon confirmation of e-filing.

11         I certify under penalty of perjury that the foregoing is true and correct, that the foregoing
     document(s) were printed on recycled paper, and that this Declaration of Service was executed by me
12   on November 5, 2014, at San Francisco, California.

13
                                                                             /s/ Joseph Hansen
14                                                                                Joseph Hansen

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        CPT AND CPTM’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION – MASTER CASE NO. 07-CV-5944 SC
